
79 So. 3d 153 (2012)
Rodolfo TORAL, Appellant,
v.
Maria Elena TORAL, Appellee.
No. 3D11-109.
District Court of Appeal of Florida, Third District.
February 1, 2012.
*154 Jorge L. Gonzalez, Miami, for appellant.
Marcelo M. Agudo, Miami, for appellee.
Before RAMIREZ, LAGOA, and FERNANDEZ, JJ.
PER CURIAM.
We affirm the trial court's final judgment of dissolution which determined that certain funds were marital property. Here, the husband did not only commingle the funds, but he also agreed to transfer the entire account to the wife's mother to earn a higher interest rate. See Hay v. Hay, 944 So. 2d 1043, 1046 (Fla. 4th DCA 2006) ("The trial court is the judge of the facts and the credibility of the witnesses. We cannot conclude that the trial court abused its discretion in determining that the husband failed to carry his burden of proving no gift was intended." (internal citations omitted)).
Affirmed.
